Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 1 of 21 PageID #:9




                    EXHIBIT A
              Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 2 of 21 PageID #:10




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 28500682
Notice of Service of Process                                                                            Date Processed: 02/08/2024

Primary Contact:           Ryan Knapp
                           Blockchain (US) Inc.
                           8300 NE 2nd Ave
                           Ste 140
                           Miami, FL 33138-3825

Electronic copy provided to:                   Teddy Kider
                                               Blockchain Legal

Entity:                                       Blockchain (US), Inc.
                                              Entity ID Number 3433869
Entity Served:                                Blockchain (US), Inc.
Title of Action:                              Candice Wilhelm vs. Blockchain (US), Inc.
Matter Name/ID:                               Candice Wilhelm vs. Blockchain (US), Inc. (15260529)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Class Action
Court/Agency:                                 Cook County Circuit Court, IL
Case/Reference No:                            2023CH09543
Jurisdiction Served:                          Florida
Date Served on CSC:                           02/08/2024
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Michael L. Fradin
                                              847-986-5889

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                         Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 3 of 21 PageID #:11
  Hearing Date: No hearing scheduled
  Location: «Cou        J         roved by the Illinois Su reme Court and is required to be accepted in all Illinois Circuit Courts.
•'Judge:                                                                                              For CvuN Use fli;iy
                   STATE OF ILLINOIS,
                     CIRCUIT COURT                                                       '     ' FILED
                                                                 SUMMONS                           1/29/2024 12:00 AM
              Cook                 COUNTY                                                          IRIS Y. MARTINEZ
                                                                                                   CIRCUIT CLERK
                                                                                                   COOK COUNTY, IL
             Instructions ~
                                                                                                   2023CH09543
             Enter above the county      Candice Wilhelm                                                               Calendar, 16
             name where the case         "Plaintiff / Petitioner (First, middle, last name)                            26154810
             was filed.
             Enter your name as
             Plaintiff/Petitioner.        V.
             Enter the names of all                                                                                 2023C H 09543
             people you are suing as      Blockchain (US), Inc.
             Defendants/                   Defendant / Respondent (First, middle, last name)                               Case Number
             Respondents.

             Enter the Case Number
             given by the Circuit         ✓ Alias Summons (Check this box if this is nof the 1st
                                          ❑
             Clerk.                       Summons issued for fhis Defendant.)

                                       There may be court fees to start or respond to a case. If you are unable to pay your court fees, you can apply
                                       for a fee waiver. You can find the fee waiver application at: illinoiscourts.gpv/documents-and-
                                       form s/appro v ed- form s/.
                                        E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-
                                        filing service provider. Visit efile.illinoiscourts.Qov/service-providers.htm to leam more and to select a
                IMPORTANT               service provider. If you need additional help or have trouble e-filing, visit illinoiscourts.eov/faq/gethelp.asp
              INFORMATION:              or talk with your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that
                                        allows you to file in-person or by mail. Ask your circuit clerk for more information or visit
                                        illinoisleealaid.orc.
                                       Call or text Illinois Court Help at 833-411-1121 for information about how to go to court including how to
                                       fill out and file forms. You can also get free legal information and legal referrals at illinoislegalaid.org.
                                       Do not use this form in an eviction, small claims, detinue, divorce, or replevin case. Use the Eviction
                                       Summons, Sinall Claims Summons, or Summons Petitionfor Dissolution ofMarriage / Civil Union available
                                       at illinoiscourts.t,Jov/documents-and-forms/approved: forms. If your case is a detinue or replevin, visit
             Plaintiff/Petitioner:     illinoislegalaid.org for help.
                                       If you are suing tnore than 1 Defendant/Respondent, fill out a Sunnnons fonn for each
                                       D efendant/Resp ond ent.

             In 1a, enter the name                 Defendant/Respondent's address and service information:
             and address of a                      a.       Defendant/Respondent's primary address/information for service:
             Defendant/
             Respondent. If you are                         Name (First, Middle, Last):
                                                                                      Blockchain (US), Inc.
             serving a Registered                           Registered Agent's name, if any: Corporation Service Company
             Agent, include the
             Registered Agent's
                                                            Street Address, Unit#:        1201 Hays Street
             name and address here.                         City, State, ZIP:   Tallahasee, FL 32301
                                                            Telephone:                             Email:
             In lb, enter a second                 b.       If you have more than one address where Defendant/Respondent might be found,
             address for Defendant/
                                                            list that here:
             Respondent, if you
             have one.                                      Name (First, Middle, Last):
                                                            Street Address, Unit #:
                                                            City, State, ZIP:
             In lc, check how you                           Telephone:                                    Email:
             are sending your
                                                            Method of service on Defendant/Respondent:
             documents to
             Defendant/                                 ❑        Sheriff             ❑     Sheriff outside Illinois:
             Respondent.                                                                                                    County & State

 SERVED 7HIS_                          DAY QFJ          ~        Special process server               ❑     Licensed private detective
                                                                                                                                 f'aM"il JA ~
                                                        P.M.
                                                                                                                   ‚~~
 1}l+1l9.Î           O ER1FF OF l.EQN C©UNTf, FL                                  Page 1 of 4                               •                                          (06/21)
                                                                                                                            ~1~:            4
                             ¿1                _            0S                                                                 ~r,~                 ~
                                                                                                                        ~.
                                                                                                                       ':`.=.}`y  j ~'.;r~'1ti.~.l~i _Y   t     -~
                                                                                                                                                          ~'~~..~ : fi4 . A
              Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 4 of 21 PageID #:12
                                                          Enter the Case Number given by the Circuit Clerk:


In 2, enter the amount        2.    Information about the lawsuit:
of money owed to you.
                                    Amount claimed: $
In 3, enter your
complete address,             3.    Contact information for the Plaintiff/Petitioner:
telephone number, and               Name (First, Middle, Last): Michael L. Fradin
email address, if you
have one.                           Street Address, Unit #: 8401 Crawford Ave. Ste. 104
                                    City, State, ZIP: Skokie, IL 60076
                                    Telephone: (847) 986-5889                Email: mike@fradinlaw.com

GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check
every day. If you do not check your email every day, you may miss important information, notice of court dates, or documents from other parties.


     Important             You have been sued. Read all of the documents attached to this Summons.
information for the        To participate in the case, you must follow the instructions listed below. If you do iiot, the court may decide
 person getting this       the case without hearing from you and you could lose the case. Appearance and Answer/Response forms can
       form                be found at: illinoiscourts.gov/docurnents-and-fornis/approved-fornis/.

Check 4a or 4b. If            4.   Instructions for person receiving this Summons (Defendant): .
Defendant/Respondent
                              ❑✓   a. To respond to this Summons, you must file Appearance and Answer/Response
only needs to file an
Appearance and                          forms with the court within 30 days after you have been served (not counting the day
Answer/Response                         ofservice) by e-filing or at:
within 30 days, check
box 4a. Otherwise, if                   Address: 50 West Washington Street (Richard J. Daley Center - Chancery Division)
the clerk gives you a                   City, State, ZIP: Chicago, IL 60602
court date, check box
4b.
                              ❑    b.   Attend court:
In 4a, fill out the                     On:                                 at                        ❑ a.m. ❑ p.m. in
address of the court                             Date                              Time                                         Courtroom
building where the
                                        In-person at:
Defendant may file or
e-file their
Appearance and                           Courfhouse Address                 Cify                                    State             ZIP
Answer/Response.                        OR
 In 4b, fill out:                       Remotely (You may be able to attend this court date by phone or video conference.
• The court date and
  time the clerk gave                   This is called a"Remote Appearance"):
  you.                                        By telephone:
• The courtroom and                                                Call-in number for telephone remote appearance
  address of the court                         By video conference:
  building.
                                                                            Video conference websife
• The call-in or video
  information for
  remote appearances                           Video conference log-in information (meeting ID, password, etc.)
  (if applicable).
• The clerk's phone                      Call the Circuit Clerk at:                                                 or visit their website
  number and website.                                                   Circuit Clerk's phone number
 All of this infonnation
 is available from the                   at:                                                        to find out more about how to do this.
Circuit Clerk.                                  Website



          STOP!               Witness this Date:
The Circuit Clerk will                                1/29/2024 12:00 AM IRIS Y. MARTINEZ
fill in this section.         Clerk of the Court:
        STOP!
The officer or process        This Summons must be served within 30 days of the witness date.
server will fill in the
Date of Service.              Date of Service:
                                                    (Date fo be enfered by an officer or process server on the copy of this Summons left
                                                    with the Defendant or other person.)

SU-S 1503.2                                                        Page 2 of 4                                                               (06/21)
              Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 5 of 21 PageID #:13
         This form•is appro"ved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.
                                                                                                    For Cotrrt Use Only
          STATE OF ILLINOIS,
           CIRCUIT COURT                                PROOF OF SERVICE OF
                                                           SUMMONS AND
    Cook                      COUNTY                     COMPLAINT/PETITION

     Instructions
 Enter above the
 county name where             Candice Wilhelm
 the case was filed.           Plaintiff / Petitioner (First, middle, last name)
 Enter your name as
 Plaintiff/Petitioner.
 Enter the names of all         V.
 people you are suing
 as Defendants/                Blockchain (US), Inc.
 Respondents.
                               Defendant / Respondent (First, middle, last name)
 Enter the Case
 Number given by the           ❑ Alias Summons (Check this box if this is not the 1                 Case Number
 Circuit Clerk.                 Summons issued for this Defendant.)

                **Stop. Do not complete the form. The sheriff or special process server will fill in the form.**

     My name is                                                                    and I state
                          Firsf, Middle, Last
     ❑ .I served the Summons and ComplaintlPetition on the Defendant/Respondent
                                                                                                 as follows:
     First, Middle, Last

            ❑     Personally on the Defendant/Respondent:
                  Male ❑ Female ❑ Non-Binary               ❑ Approx. Age                          Race:
                  On this date:                     at this time:                         ❑ a.m. ❑ p.m.
                  Address, Unit#:
                  City, State, ZIP:

            ❑     On someone else at the Defendant/Respondent's home who is at least 13 years old and is a family
                  member or lives there:
                  On this date:                     at this time:              ❑ a.m. ❑ p.m.
                  Address, Unit#:
                  City, State, ZIP:
                  And left it with:
                                        First, Middle, Last
                  Male ❑ Female ❑ Non-Binary                 ❑ Approx. Age:                    Race:
                  and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                  above address on                     , 20
            ❑     On the Corporation's agent,
                                                       First, Middle, Last

                  Male     ❑ Female             ❑    Non-Binary ❑ Approx. Age:                    Race:
                  On this date:                             at this time:                 ❑ a.m. ❑ p.m.
                  Address:
                  City, State, ZIP:




SU-S 1503.2                                                         Page 3 of 4                                                (06/21)
              Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 6 of 21 PageID #:14
                                                    Enter the Case Number given by the Circuit Clerk:
    ❑ I was not able to serve the Summons and Complaint/Petition on Defendant/Respondent:

    First Middle, Last

    I made the following attempts to serve the Summons and Complaint/Petition on the Defendant/Respondent:

    1       On this date:                            at this time:                        ❑ a.m. ❑ p.m.
            Address:
            City, State, ZIP:
            Other information about service attempt:




    2       On this date:                            at this time:                        ❑ a.m. ❑ p.m.
            Address:
            City, State, ZIP:
            Other information about service attempt:




    3       On this date:                            at this time:                        ❑ a.m. ❑ p.m.
            Address:
            City, State, ZIP:
            Other information about service attempt:




 DO NOT complete          If you are a special process server, sheriff outside Illinois, or licensed private detective,
 this section. The
                          your signature certifies that everything on the Proof of Service of Summons is true and
 sheriff or private
 process server will      correct to the best of your knowledge. You understand that making a false statement on
 coinplete it.            this form could be perjury.

                          By:                                                    FEES
 Under the Code of                                                               Service and Return:    $
 Civil Procedure, 735
                          Signature by:   ❑   Sheriff                            Miles                  $
 ILCS 5/1-109,
 making a statement                       ❑   Sheriff outside Illinois           Total                  $ 0.00
 on this form that you
 know to be false is
 perjury, a Class 3                           County and State
 Felony.                                  ❑   Special process server
                                          ❑   Licensed private
                                              detective

                          Print Name

                          If Summons is served by licensed private detective or private detective agency:
                          License Number:




SU-S 1503.2                                                  Page 4 of 4                                            (06/21)
                  Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 7 of 21 PageID #:15
                                                                                          FILED
                                                                                                           11/20/2023 3:03 PM
Hearing Date: 3/19/2024 10:30 AM
Location: Court Room 2102                                                                                  IRIS Y. MARTINEZ
Judge: Atkins, David B.                                                              ,                     CIRCUIT CLERK
                                             ,
                                                                                                           COOK COUNTY, IL
                                                                                                           2023CH09543
                                                                                                           Calendar, 16
                                                    STATE OF ILLINOIS                                      25286274
                                             CIRCUIT COURT OF COOK COUNTY
                                                  CHANCERY DIVISION

               Candice Wilhehn individually and on                  Case No.2023CH09543
               behalf of all others similarly situated,
                                                                    Judge: -
                         Plaintiff,

               -vs-

               Blockchain (US), Inc.

                         Defendant

                                                 CLASS ACTION COMPLAINT

                         Now comes Plaintiff, Candice Wilhelm ("Plaintiff'), on behalf of herself and all other

               similarly situated, through Counsel, and pursuant to 735 ILCS §§ 5/2-801 and 2-802, and 740

               ILCS § 740/14/15, against Defendant, Blockchain (US), Inc. ("Blockchain.com" or "Defendant"),

               its subsidiaries and affiliates, to redress and curtail Blockchain.com's unlawful collections,

               obtainments, use, storage, and disclosure of Plaintiff's sensitive and proprietary biometric

               identifiers and/or biometric information (collectively referred to herein as "biometric data" and/or

               "biometrics"). Plaintiff alleges as follows upon personal knowledge as to herself, her own acts and

               experiences and, as to all other matters, upon information and belief including investigation

               conducted by her attorneys.

                                                  NATURE OF THE ACTION

                      1. Blockchain.com is a website and mobile phone application owned and operated by

               Blockchain (US), Inc. which markets itself as a virtual platform where users may trade, purchase,

               borrow and transfer ciypto currency.

                   2. Plaintiff opened an account with Blockchain.com within the five (5) years immediately

               preceding the filing of this Complaint.

                                                                1
  Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 8 of 21 PageID #:16




   3. As part of signing up, and/or gaining access to her Blockchain.com account, Plaintiff was

prompted to allow Blockchain.com to collect her facial geometry, i.e., her biometric information

in order to verify her identity and ensure that she can meet the standards required by

Blockchain.com in order to have access to the application.

   4. Facial geometry scans are unique, permanent biometric identifiers associated with each

user that cannot be changed or replaced if stolen or compromised.

   5. Blockchain.com collects, stores, possesses, otherwise obtains, uses, and disseminates its

users' biometric data.

   6. The Illinois legislature enacted BIPA to protect residents' privacy interests in their

biometric data. See Heard v. Becton, Dickinson & Co., 440 F. Supp. 3d 960, 963 (N.D. I11. 2020),

citing Rosenbach v. Six Flags Entm't Corp., 2019 IL 123186, 432 I11. Dec. 654, 129 N.E.3d 1197,

1199 (2019).

    7. Courts analogize an individual's privacy interest in their unique biometric data to their

interest in protecting their private domain from invasion, such as from trespass. See Bryant v.

Compass Group USA, Inc., 958 F.3d 617, 624 (7th Cir. 2020), as amended on denial of reh'g and

reh'g en banc, (June 30, 2020) and opinion amended on denial of reh'g en banc, 2020 U.S. App.

LEXIS 20468, 2020 WL 6534581 (7th Cir. 2020).

    8. In recognition of these concems over the security of individuals' biometrics — particularly

in the City of Chicago, which has been selected by major national corporations as a "pilot testing

site[] for new applications of biometric-facilitated financial transactions, including finger-scan

technologies at grocery stores, gas stations, and school cafeterias" (740 ILCS 14/5(b)) — the Illinois

Legislature enacted the BIPA, which provides, inter alia, that a private entity like Blockchain.com

Group Holdings, Inc., may not obtain and/or possess aii individual's biometrics unless it: (1)


                                                  2
  Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 9 of 21 PageID #:17




informs that person in writing that biometric identifiers or information will be collected or stored;

(2) informs that person in writing of the specific purpose and length of term for which such

biometric identifiers or biometric information is being collected, stored and used; (3) receives a

written release from the person for the collection of his or her biometric identifiers or information;

and (4) publishes publicly-available written retention schedules and guidelines for permanently

destroying biometric identifiers and biometric information. 740 ILCS 14/15(a)-(b).

    9. The I1linois Legislature has found that "[b]iometrics are unlike other unique identifiers

that are used to access finances or other sensitive information." 740 ILCS 14/5(c). "For example,

social security numbers, when compromised, can be changed. Biometrics, however, are

biologically unique to the individual; therefore, once compromised, the individual has no recourse,

is at heightened risk for identity theft, and is likely to withdraw from biometric-facilitated

transactions." Id.

    10. Blockchain (US), Inc. is a "private entity" as that term is broadly defined by BIPA and is

       subject to all requirements of BIPA. See 740 ILCS § 14/10.

                                  JURISDICTION AND VENUE

    11. This is a Class Action Complaint for violations of the I1linois Biometric Information

Privacy Act (740 ILCS § 14/1 et seq.) brought pursuant to 735 ILCS §§ 5/2-801, 2-802 seeking

statutory damages.

    12. Venue is proper in this Court because a substantial amount of the acts and omissions

giving rise to this Action occurred within this judicial district.

    13.At all relevant times, Plaintiff is a resident of the state of Illinois and the violations of

BIPA as detailed herein occurred while Plaintiff was located in Illinois.

    14.Blockchain.com operates as a cryptocurrency corporation/platform which markets itself


                                                   3
 Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 10 of 21 PageID #:18




and does substantial business with users located in and residing within the State of Illinois.

   15. Blockchain.com markets directly to Illinois residents.

   16.Blockchain.com's marketing efforts include, but are not limited to, pay-per-click

advertising, Facebook ads, Instagram ads, and other social media marketing campaigns targeted

specifically at indiviudals residing within the City of Chicago and State of Illinois.

   17. Blockchain.com's marketing efforts directed towards Illinois were a factor in Plaintiff's

decision to open an account on Blockchain.com.

                 FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

    18. Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

    19. Plaintiff opened an account with Blockchain.com within the five years immediately

preceding the filing of this Complaint.

    20. As part of signing up, and/or gaining access to her Blockchain.com account, Plaintiff

was prompted to allow Blockchain.com to collect her facial geometry, i.e., her biometric

information in order to verify her identity and ensure that she can meet the standards required by

Blockchain.com in order to have access to the application.

    21. At the time of collecting and retaining Plaintiff's biometric information, Blockchain.com

had no written policy, made available to the public, establishing a retention schedule and

guidelines for permanently destroying biometric information when the initial purpose for

collecting or obtaining such biometric information has been satisfied or within 3 years of the

individual's last interaction with Blockchain.com, whichever occurs first.

    22. Blockchain.com did not inform Plaintiff in writing that Blockchain.com was collecting or

storing her biometric information.


                                                  4
 Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 11 of 21 PageID #:19




   23. In fact, Blockchain.com made no mention of biometric infonnation, collection of

biometric information, or storage of biometric information.

   24. Moreover, Blockchain.com did not inform Plaintiff in writing of the specific purpose and

length of term for which her biometric information was being collected, stored, and used.

   25. Blockchain.com collected, stored, and used Plaintiff's biometric infonnation without ever

receiving a written release executed by Plaintiff which would consent to or authorize

Blockchain.com to do the same.

   26. Additionally, Blockchain.com disclosed, redisclosed, or othei-wise disseminated

Plaintiffs information (1) without Plaintiff's consent; (2) without Plaintiff's authorization to

complete a fmancial transaction requested or authorized by; (3) without being required by State or

federal law or municipal ordinance; or (4) without being required pursuant to a valid warrant or

subpoena issued by a court of competent jurisdiction.

   27. Blockchain.com's collection and retention of biometric information as described herein

is not unique to Plaintiff and is instead part of Blockchain.com's policy and procedures which it

applies to all of its users, including the Class Members.

                        CLASS DEFINITIONS AND ALLEGATIONS

   28. Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

   29. Plaintiff brings Claims for Relief in violation of BIPA as a class action on behalf of

herself and all members of the following Class:

       All Illinois residents who had their biometric information collected by
       Defendant at any point in the five (5) years • preceding the filing of this
       Complaint.

    30. In the alternative, and for the convenience of this Court and the parties, Plaintiff may


                                                  5
 Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 12 of 21 PageID #:20




seek to certify other subclasses at the time the motion for class certification is filed.

    31. Numerosity. The Class Members are so numerous that joinder of all members is

impracticable. Plaintiff is informed and believes that there are more than 1,000 people who satisfy

the defmition of the Class.

    32. Existence of Common Questions of Law and Fact. Common questions of law and fact

exist as to Plaintiff and the Class Members including, but not limited to, the following:

        a. Whether Blockchain.com possessed Plaintiffs and the Class Members' biometric

identifiers or biometric information without first developing a written policy, made available to

the public, establishing a retention schedule and guidelines for permanently destroying biometric

identifiers and biometric information when the initial purpose for collecting or obtaining such

identifiers or information has been satisfied or within 3 years of the individual's last interaction

with Defendant, whichever occurs first.

        b. Whether Blockchain.com collected, captured, purchased, received through trade, or

otherwise obtained Plaintiffs and the Class Members' biometric identifier or biometric

information, without first: (1) informing Plaintiff and the Class Members in writing that a

biometric identifier or biometric information is being collected or stored; (2) informing Plaintiff

and the Class Members in writing of the specific purpose and length of teim for which their

biometric identifier or biometric information was being collected, stored, and used; and (3)

receiving a written release executed by Plaintiff and the Class Members

        c. Whether Blockchain.clom disclosed, redisclosed, or otherwise disseminated Plaintiffs

and the Class Members' biometric identifiers or biometric information (1) without Plaintiff's and

the Class Members' consent; (2) without Plaintiff's and the Class Members' authorization to

complete a financial transaction requested or authorized by Plaintiff and the Class Members; (3)
 Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 13 of 21 PageID #:21




without being required by State or Federal law or municipal ordinance; or (4) without being

required pursuant to a valid warrant or subpoena issued by a court of competent jurisdiction.

       d. The damages sustained and the proper monetary amounts recoverable by Plaintiff and

the Class Members.

   33. Adequacy. Plaintiff will fairly and adequately represent and protect the interests of the

Class Members. Plaintiff has retained counsel competent and experienced in complex class

actions.

   34. Appropriateness and Efficiency. Class certification is also appropriate and efficient

because questions of law and fact common to the Class Members predominate over questions

affecting only individual members of the classes, and because a class action is superior to other

available methods for the fair and efficient adjudication of this litigation. Blockchain.com's

common and uniform policies and practices illegally deprived Plaintiff and the Class Members of

the privacy protections which BIPA seeks to ensure; thus, making the question of liability and

damages much more manageable and efficient to resolve in a class action, compared to hundreds

of individual trials. The damages suffered by individual Class Members are small compared to the

expense and burden of individual prosecution. In addition, class certification will obviate the need

for unduly duplicative litigation that might result in inconsistent judgments about

Blockchain.com's practices.

                     COUNT ONE: VIOLATION OF 740 ILCS § 14/15(a)

    35. Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

    36. A private entity in possession of biometric identifiers or biometric information must




                                                  7
 Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 14 of 21 PageID #:22




develop a written policy, made available to the public, establishing a retention schedule and

guidelines for permanently destroying biometric identifiers and biometric information when the

initial purpose for collecting or obtaining such identifiers or information has been satisfied or

within 3 years of the individual's last interaction with the private entity, whichever occurs first.

Absent a valid warrant or subpoena issued by a court of competent jurisdiction, a private entity in

possession of biometric identifiers or biometric information must comply with its established

retention schedule and destruction guidelines. 740 ILCS § 14/15(a).

    37. As part of signing up, and/or gaining access to their Blockchain.com accounts, Plaintiff

and the Class Members were prompted to allow Blockchain.com to collect their facial geometry,

i. e., their biometric information.

    38. At the time of collecting and retaining Plaintiff s and the Class Members' biometric

information, Blockchain.com had no written policy, made available to the public, establishing a

retention schedule and guidelines for permanently destroying biometric information when the

initial purpose for collecting or obtaining such biometric information has been satisfied or within

3 years of the individual's last interaction with Blockchain.com, whichever occurs first.

    39. As such, Blockchain.com's retention of Plaintiff's and the Class Members' biometric

information was unlawful and in violation of 740 ILCS § 14/15(a).

                     COUNT TWO: VIOLATION OF 740 ILCS § 14/15(b)

    40. Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

    41. No private entity may collect, capture, purchase, receive through trade, or otherwise

obtain a person's or a customer's biometric identifier or biometric information, unless it first:

        (1) informs the subject or the subject's legally authorized representative in writing
        that a biometric identifier or biometric information is being collected or stored;

                                                  0
      Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 15 of 21 PageID #:23




            (2) informs the subject or the subject's legally authorized representative in
a           writing of the specific purpose and length of term for which a biometric identifier
0           or biometric information is being collected, stored, and used; and
C)
N           (3) receives a written release executed by the subject of the biometric identifier or
            biometric information or the subject's legally authorized representative. 740 ILCS
            § 14/15(b).

        42. Blockchain.com did not inform Plaintiff and the Class Members in writing that

     Blockchain.com was collecting or storing their biometric information.

        43. In fact, Blockchain.com made no mention of biometric information, collection of

     biometric information, or storage of biometric information.

        44. Moreover, Blockchain.com did not inform Plaintiff and the Class Members in

     writing of the specific purpose and length of term for which their biometric infonnation

     was being collected, stored, and used.

        45. Blockchain.com collected, stored, and used Plaintiff's and the Class Members'

     biometric information without ever receiving a written release executed by Plaintiff or the

     Class Members which would consent to or authorize Blockchain.com to do the same.

        46. As such, Blockchain.com's collection of Plaintiff's and the Class Members'

     biometric information was unlawful and in violation of 740 ILCS § 14/15(c).

                       COUNT THREE: VIOLATION OF 740 ILCS § 14/15(d)

        47. Plaintiff realleges and incorporates by reference all allegations in all preceding

     paragraphs.

        48. No private entity in possession of a biometric identifier or biometric information may

     disclose, redisclose, or otherwise disseminate a person's or a customer's biometric identifier or

     biometric information unless:
 Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 16 of 21 PageID #:24




       (1) the subject of the biometric identifier or biometric information or the subject's
       legally authorized representative consents to the disclosure or redisclosure;

       (2) the disclosure or redisclosure completes a fmancial transaction requested or
       authorized by the subject of the biometric identifier or the biometric information or
       the subject's legally authorized representative;

       (3) the disclosure or redisclosure is required by State or federal law or municipal
       ordinance; or

       (4) the disclosure is required pursuant to a valid warrant or subpoena issued by a
       court of competent jurisdiction. 740 ILCS § 14/15(d).

   49. Blockchain.com's disclosures, redisclosures, or otherwise disseminating of Plaintiff's and

the Class Members' biometric information was unlawful and in violation of 740 ILCS § 14/15(d).

       WHEREFORE, individually, and on behalf of the Class Members, the Plaintiff prays for:

(1) certification of this case as a class action appointing the undersigned counsel as class counsel;

(2) a declaration that Blockchain.com has violated BIPA, 740 ILCS 14/1 et seq.; (3) statutory

damages of $5,000.00 for each intentional and reckless violation of BIPA pursuant to 740 ILCS

14/20(2), or altematively, statutory damages of $1,000.00 per violation pursuant to 740 ILCS

14/20(1) in the event the court fmds that Blockchain.com's violations of BIPA were not willful;

(4) reasonable attomeys' fees and costs and other litigation expense pursuant to 740 ILCS

14/20(3); (5) actual damages; and (6) for any other relief deemed appropriate in the premises.



Dated: November 20, 2023                      Respectfully submitted,


                                              By: /s/Michael L. Fradin
                                              Michael L. Fradin, Esq.
                                              8 N. Court St. Suite 403
                                              Athens, Ohio 45701
                                              Telephone: 847-986-5889
                                              Facsimile: 847-673-1228
                                              Email: mike@fradinlaw.com


                                                 10
Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 17 of 21 PageID #:25




                                  By: /s/James L. Simon
                                  James L. Simon (pro hac vice forthcoming)
                                  Simon Law Co.
                                  11 '/z N. Franklin Street
                                  Chagrin Falls, Ohio 44022
                                  Telephone: (216) 816-8696
                                  Email: james@simonsayspay.com




                                    11
               Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 18 of 21 PageID #:26

Hearing Date: No hearing scheduled
Location: «Cou                  roved by the Illinois Su reme Court and is required to tie acce ted in all Illinois Circuit Courts.
Judge:                                                                                               For Court Use Only
                   STATE OF ILLINOIS,
                    CIRCUIT COURT                                                                 FILED
                                                                      SUMMONS                     1/29/2024 12:00 AM
             Cook                COUNTY                                                           IRIS Y. MARTINEZ
                                                                                                  CIRCUIT CLERK
                                                                                                  COOK COUNTY, IL
           Instructi;ons~                                                                         2023CH09543
         Enter above the county  Candice Wilhelm                                                  Calendar, 16
         name whcre the case      Plaintiff / Petitioner (First, middle, last name)               26154810
         was filed.
        Enter your name as
        Plaintiff/Petitioner.       V.
        Enter the names of all                                                                            2023CH 09543
        people you are suing as    Blockchain (US), Inc.
        Defendants/                Defendant / Respondent (First, middle, last name)                          Case Number
        Respondents.

        Enter the Case Number
        given by thc Circuit        ❑✓ Alias Summons (Check this box if this is not the 15~
        Clerk.                      Summons issued for this Defendant.)

                                  There may be court fees to start or respond to a case. If you are unable to pay your court fees, you can apply
                                  for a fee waiver. You can find the fee waiver application at: illinoiscourts.gov/documents-and-
                                  forms/approved-forrns/.
                                  E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-
                                  filing service provider. Visit efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
           IMPORTANT              service provider. If you need additional help or have trouble e-filing, visit illinoiscourts.Qov/facl/eetheln.asp
          INFORMATION:            or talk with your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that
                                  allows you to file in-person or by mail. Ask your circuit clerk for more information or visit
                                  illinoisleealaid.ore.
                                  Call or text Illinois Court Help at 833-411-1121 for information about how to go to court including how to
                                  fill out and file forms. You can also get free legal information and legal referrals at illinoislegalaid.org.
                                  Do not use this fonn in an eviction, small claims, detinue, divorce, or replevin case. Use the Eviction
                                  Summons, Small Claims Summons, or Summons Petitionfor Dissolution ofMarriage / Civil Union available
                                  at illinoiscourts.eov/documents-and-foi-ms/approved-fonns. If your case is a detinue or replevin, visit
         Plaintiff/Petitioner:    illinoislegalaid.org for help.
                                  If you are suing more than 1 Defendant/Respondent, fill out a Summons form for each
                                  Defendant/Respondent.

         In la, enter the name        1.    Defendant/Respondent's address and service information:
         and address of a                   a. Defendant/Respondent's primary address/information for service:
         Defendant/
         Respondent. If you are                 Name (First, Middle, Last): Blockchain (US), Inc.
         serving a Registered                   Registered Agent's name, if any: Corporation Service Company
         Agent, include the
                                                  Street Address, Unit #: 1201 Hays Street
         Registered Agent's
         name and address here.                   City, State, ZIP: Tallahasee, FL 32301
                                                  Telephone:                           Email:
         In lb, enter a second              b.    If you have more than one address where Defendant/Respondent might be found,
         address for Defendant/                   list that here:
         Respondent, if you
         have one.                                Name (First, Middle, Last):
                                                  Street Address, Unit#:
                                                  City, State, ZIP:
         In lc, check how you                     Telephone:                             Email:
         are sending your                   c.    Method of service on Defendant/Respondent:
         documents to
         Defendant/                               ❑ Sheriff                ❑ Sheriff outside Illinois:
         Respondent.                                                                                           County & State
                                                  ❑    Special process server                ❑    Licensed private detective



         SU-S 1503.2                                                      Page 1 of 4                                                          (06/21)
       Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 19 of 21 PageID #:27


                                                           Enter the Case Number given by ttie CircuiC Clerk:

In 2, enter the amount              Information about the lawsuit:
of money owed to you.               Amount claimed: $
In 3, enter your
complete address,             3     Contact information for the Plaintiff/Petitioner:
telephone number, and               Name (First, Middle, Last): Michael L. Fradin
email address, if you
have one.                           Street Address, Unit #: 8401 Crawford Ave. Ste. 104
                                    City, State, ZIP: Skokie, IL 60076
                                    Telephone: (847) 986-5889                Email: mike@fradinlaw.com
                                                                                                                                                -
GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check
every day. If you do not check your email every day, you may miss important information, notice of court dates, or documents from otlier parties.

     Important             You have been sued. Read all of the docutnents attached to this Sumnrons.
information for the        To participate in the case, you must follow the instructions listed below. If you do not, the court may decide
 person getting this       the case without hearing frotn you and you could lose the case. Appearartce and Answer/Response forms can
       form                be found at: i11inoiscourts.gov/documents-and-forrns/approved-foms/.

Check 4a or 4b. If            4.   Instructions for person receiving this Summons (Defendant):
Defendant/Respondent
                              ❑✓   a. To respond to this Summons, you must file Appearance and Answer/Response
only needs to file aii
Appearance and                          forms with the court within 30 days after you have been served (not counting the day
Anstiver/Response                       ofservice) by e-filing or at:
within 30 days, check
box 4a. Otherwise, if                   Address: 50 West Washington Street (Richard J. Daley Center - Chancery Division)
the clerk gives you a                   City, State, ZIP: Chicago, IL 60602
court date, check box
4b.
                              ❑ b.       Attend court:
 In 4a, fill out the                     On:                                 at                        ❑ a.m. ❑ p.m. in
 address of the court                            Date                                Time                                        Courtroom
 building where the
                                         In-person at:
 Defendant may file or
 e-file their
 Appear•ance and                         Courthouse Address                   City                                   State             Z/P
 Ansiver/Response.                       OR
 In 4b, fill out:                        Remotely (You may be able to attend this court date by phone or video conference.
• The court date and
  time the clerk gave                    This is called a "Remote Appearance"):
  you.                                         By telephone:
• The courtroom and                                                 Call-in number for telephone remote appearance
  address of the cotirt                        By video conference:
  building.                                                                  Video conference website
• The call-in or video
  information for
  remote appearances                            Video conference log-in information (meeting ID, password, etc.)
  (if applicable).
• The clerk's phone                      Call the Circuit Clerk at:                                                 or visit their website
  number and website.                                                    Circuit Clerk's phone number
 All of this information
 is available from the                   at:                                                         to find out more about how to do this.
Circuit Clerk.                                   Website



          STOP!               Witness this Date:
The Circuit Clerk will                                  1/29/2024 12:00 AM IRIS Y. MARTINEZ
fill in this section.         Clerk of the Court:
        STOP!
The officer or process        This Summons must be served within 30 days of the witness date.
server will fill in the
Date of Service.              Date of Service:
                                                     (Date to be entered by an officer or process server on the copy of this Summons left
                                                     with the Defendant or other person.)

SU-S 1503.2                                                          Page 2 of 4                                                              (06/21)
      Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 20 of 21 PageID #:28


        This form is approved by the Ilunois Supreme Court and is required to be accepted in all Illinois Circuit Courts.
                                                                                               For CourY Use Only
        STATE OF ILLINOIS,
         CIRCUIT COURT                             PROOF OF SERVICE OF
                                                      SUMMONS AND
   Cook                   COUNTY                    COMPLAINT/PETITION

    Instructions
Enter above the
county naine where        Candice Wilhelm
the case was filed.       Plaintiff / Petitioner (First, middle, last name)
Enter your name as
Plaintiff/Petitioner.
Enter the names of all     V.
people you are suing
as Defendants/            Blockchain (US), Inc.
Respondents.
                           Defendant / Respondent (First, middle, last name)
Enter the Case
Number given by the        ❑ Alias Summons (Check this box if this is not the 1St               Case Number
Circuit Clerk.             Summons issued for this Defendant.)

               **Stop. Do not complete the form. The sheriff or special process server will fill in the form**

    My name is                                                                 and I state
                  First, Middle, Last
    ❑ I served the Summons and Complaint/Petition on the Defendant/Respondent
                                                                                             as follows:
    First, Middle, Last

           ❑     Personally on the Defendant/Respondent:
                 Male ❑ Female ❑ Non-Binary               ❑ Approx. Age                       Race:
                 On this date:                     at this time:                      ❑ a.m. ❑ p.m.
                 Address, Unit#:
                 City, State, ZIP:

           ❑     On someone else at the Defendant/Respondent's home who is at least 13 years old and is a family
                 member or lives there:
                 On this date:                     at this time:               ❑ a.m. ❑ p.m.
                 Address. Unit#:
                 City, State, ZIP:
                 And left it with:
                                    First, Middle, Last
                 Male ❑ Female ❑ Non-Binary                 ❑ Approx. Age:                   Race:
                 and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                 above address on                     , 20
           ❑     On the Corporation's agent,
                                                  First, Middle, Last

                 Male ❑ Female             ❑    Non-Binary ❑ Approx. Age:                     Race:
                 On this date:                         at this time:                  ❑ a.m. ❑ p.m.
                 Address:
                 City, State, ZIP:




SU-S 1503.2                                                     Page 3 of 4                                                 (06/21)
                Case: 1:24-cv-01998 Document #: 1-1 Filed: 03/08/24 Page 21 of 21 PageID #:29
        %              •4



                                                             Enter the Case Number given by the CircuiCClerk:
            ❑ I was not able to serve the Summons and Complaint/Petition on Defendant/Respondent:

            First, Middle, Last

            I made the following attempts to serve the Summons and Complaint/Petition on the Defendant/Respondent:

            1.    On this date:                            at this time:                          ❑ a.m. ❑ p.m.
                  Address:
                  City, State, ZIP:
                  Other information about service attempt:       __    _




            L     On this date:                            at this time:                          ❑ a.m. ❑ p.m.
                  Address:
                  City, State, ZIP:
                  Other information about service attempt:




            3.    On this date:                            at this time                           ❑ a.m. ❑ p.m.
                  Address:
                  City, State, ZIP:
                  Other information about service attempt:


,.'



       DO NOT complete            If you are a special process server, sheriff outside Illinois, or licensed private detective,
       this section. The
       sheriff or private
                                  your signature certifies that everything on the Proof of Service of Summons is true and
       process server will        correct to the best of your knowledge. You understand that making a false statement on
       complete it.               this form could be perjury.

                                  By:                                                    FEES
       Under the Code of                                                                Service and Return:     $
       Civil Procedure, 735
                                  Signature by:   ❑   Sheriff                           Miles                   $
       ILCS 5/1-109,
       making a statement                         ❑   Sheriff outside Illinois:         Total                   $ 0.00
       on this form that you
       know to be false is
       perjury, a Class 3                             County and State
       Felony.                                    ❑   Special process server
                                                  ❑   Licensed private
                                                      detective

                                  Print Name

                                  If Summons is served by licensed private detective or private detective agency:
                                  License Number:




      SU-S 1503.2                                                     Page 4 of 4                                           (06/21)
